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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §     CRIMINAL NO. H-09-029-5
                                                 §
                                                 §
GERARDO VILLEGAS                                 §

                                            ORDER

       Defendant Villegas filed an unopposed motion for continuance, (Docket Entry No. 317).

The court finds that the interests of justice are served by granting this continuance and that those

interests outweigh the interests of the public and the defendant in a speedy trial. The motion for

continuance is GRANTED. The pretrial conference is reset to September 27, 2010, at 9:30 a.m.

The jury trial and selection are reset to October 4, 2010, at 9:00 a.m.



               SIGNED on August 20, 2010, at Houston, Texas.

                                                     ______________________________________
                                                              Lee H. Rosenthal
                                                        United States District Judge
